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 7                          UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
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10   AMERICAN CLAIMS MANAGEMENT,                       Case No.: 18-CV-925-JLS (MDD)
     INC.,
11
                                      Plaintiff,       ORDER: (1) VACATING PRETRIAL
12                                                     DEADLINES; AND
     v.                                                (2) CONTINUING PRETRIAL
13
                                                       CONFERENCE
     ALLIED WORLD SURPLUS LINES
14
     INSURANCE COMPANY (f/k/a Darwin
15   Select Insurance Company),
16                                  Defendant.
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18         On its own motion, the Court VACATES the remaining pretrial deadlines and
19   CONTINUES the Pretrial Conference, currently scheduled for January 16, 2020. The
20   Court will amend these deadlines and reschedule the Pretrial Conference, if necessary,
21   following its ruling on the pending Motion for Summary Judgment.
22         IT IS SO ORDERED.
23   Dated: December 17, 2019
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                                                                           18-CV-925-JLS (MDD)
